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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

                       Plaintiff,                                  Case Number 14-20117
                                                                   Honorable David M. Lawson
 v.

 NATASHA MEDINA,

                   Defendant.
 __________________________________________/

               ORDER DENYING DEFENDANT’S MOTION TO SUPPRESS
                       AND TO DISMISS THE INDICTMENT

        Presently before the Court is the defendant’s motion to suppress and to dismiss the

 indictment. On March 18, 2015, the Court held a hearing on the defendant’s motion and heard

 argument from both sides. At the conclusion of the hearing, the Court announced its decision from

 the bench and denied the defendant’s motion.

        Accordingly, it is ORDERED that the defendant’s motion to suppress and to dismiss the

 indictment [dkt. #324] is DENIED for the reasons stated on the record.


                                                       s/David M. Lawson
                                                       DAVID M. LAWSON
                                                       United States District Judge

 Dated: March 18, 2015


                                                 PROOF OF SERVICE

                         The undersigned certifies that a copy of the foregoing order was served
                         upon each attorney or party of record herein by electronic means or first
                         class U.S. mail on March 18, 2015.

                                                           s/ Susan Pinkowski
                                                           SUSAN PINKOWSKI
